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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

MILBANK INSURANCE COMPANY,            )
                                      )
                          Plaintiff,  )
                                      )
                    v.                ) Case No. 23-cv-910
                                      )
JULIAN CHENG, GLENVIEW YOUTH ) Judge Robert W. Gettleman
SOCCER ASSOCIATION, an Illinois not )
for profit corporation, DARRIN BAIM, ) Magistrate Judge Maria Valdez
and TONY YOUHANNA,                    )
                                      )
                          Defendants. )

                                 JUDGMENT ORDER

      The Plaintiff, Milbank Insurance Company, having moved for the entry of a default

declaratory judgment against Defendants Glenview Youth Soccer Association, Darrin

Baim and Tony Youhanna (Doc. 19), the Court having earlier granted motions for default

(Doc. 16, granting Docs. 12, 13 and 15), the Court having considered the Motion and

memorandum of law filed by Plaintiff (Docs. 19 and 21), grants the Motion and enters a

default declaratory judgment against the aforesaid Defendants for the reasons stated on the

record on May 18, 2023 and as follows:

       The Court finds that the underlying amended complaint filed by Glenview Youth

Soccer Association, Darrin Baim and Tony Youhanna against the Defendant Julian Cheng

in the Circuit Court of Cook County, Illinois, under Cause No. 22 L 6380, does not allege

an “occurrence” which caused “bodily injury” or “property damage” as defined and as

required by Milbank Insurance Company’s policies numbered 1001041399 (2117 Lake
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Avenue, Wilmette, IL) issued for the period of December 18, 2020/21 and December 18,

2021/22; 1001023328 (1109 Garnett Place, Evanston, IL) issued for the period of

November 23, 2020/21 and November 2021/22; and 1001308487 (1820 Lauren Avenue,

Hanover Park, IL) issued for the period of November 8, 2021/22; as each of those policies

only extends coverage to “bodily injury” or “property damage” caused by an “occurrence.”

       The Court now enters judgment for Plaintiff Milbank Insurance Company and

against the aforesaid Defendants and each of them and finds that Milbank Insurance

Company has no duty or obligation to defend the action they brought against the Defendant

Julian Cheng under Cause No. 22 L 6380 pending in the Circuit Court of Cook County,

Illinois under the aforesaid policies.

       The Court further grants Milbank Insurance Company’s motion for default against

Defendant Julian Cheng (Doc. 22) and a prove up hearing is set for June15, 2023 at 9:45,

in person appearance is required.




Dated: May 18, 2023                      ____________________________________
                                                Judge Robert W. Gettleman




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